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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

        Plaintiff,
               v.                                  Civil Action No. 20-3590 (JEB)


 FACEBOOK, INC.,

        Defendant.


                                         ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

      1. Defendant’s Motion to Dismiss is DENIED; and

      2. Defendant shall file its Answer to Plaintiff’s Amended Complaint by January 25,

          2022.


                                                        /s/ James E. Boasberg
                                                        JAMES E. BOASBERG
                                                        United States District Judge
Date: January 11, 2022




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